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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

                               CIVIL NO.
   DANIEL WARD,     )
       Plaintiff    )
                    )                COMPLAINT
         v.         )
                    )
   SAN LORENZO      )
   BIKINIS, LLC     )
        Defendant   )
   _________________)

         Plaintiff DANIEL WARD, through his undersigned counsel, avers
   and alleges:
                       JURISDICTION AND VENUE

                  1. This court has original jurisdiction pursuant to 28 U.S.C.
   Section 1331 through the federal question raised herein, namely the alleged
   violation of the Americans With Disabilities Act of 1990 (hereinafter
   “ADA”), 42 U.S.C. Section 12101 et seq.
                  2. All events material hereto occurred within the District of
   Hawaii.
                  3. Plaintiff DANIEL WARD is a person with a disability,
   namely spinal cord-injured quadriplegia.
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                  VIOLATION OF 42 U.S.C. § 12101 ET. SEQ.
                4. According to 28 CFR part 36, the defendant SAN
   LORENZO BIKINIS, LLC, is a “public accommodation” which is operating
   a “place of public accommodation,” namely a retail store, located at 66-051
   Kamehameha Hwy., Haleiwa, City & County of Honolulu, Hawaii, and
   thereby falls under the ambit of the ADA, 42 U.S.C. Section 12101 et seq.
                5. Accordingly the defendant SAN LORENZO BIKINIS, LLC.
   is amenable to suit by the plaintiff for violation of the ADA.
                6. The defendant SAN LORENZO BIKINIS, LLC. has
   violated and is violating the ADA by denying the plaintiff equal
   accommodations and has not complied with the ADA final rules, 28 CFR
   part 36, Subpart C, by failing to eliminate readily achievable barriers to
   equal accessibility, including but not limited to:
                a) no accessible entrance and no accessible route.
   THEREFORE, PLAINTIFF RESPECTFULLY REQUESTS THE COURT:
   enter judgment for the plaintiff and against the defendant SAN LORENZO
   BIKINIS, LLC. and order the following relief:
                A) An injunction ordering the defendant SAN LORENZO
                    BIKINIS’s full compliance with the ADA within one
                    hundred eighty (180) days;
                B) Payment of plaintiff’s litigation costs, including reasonable
                    expert and attorney’s fees; and
                D) Such other relief as the court deems proper.
   DATED: Honolulu, Hawaii, May 30, 2019.

   /s/ LUNSFORD DOLE PHILLIPS
